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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                    )
 JANE DOE, an individual,                           )
 JANE DOE II, a minor by and through her            )
 parent and guardian, JANE DOE,                     )
  Plaintiffs,                                       )     Civil Action No. 23-1422
                                                    )
          v.                                        )
                                                    )
 SELECT       SPECIALTY      HOSPITAL-              )
 PITTSBURGH/UPMC, INC.,                             )
 TATIA FIRESTONE, an adult individual,              )
  Defendants.                                       )


                             ORDER ON MOTIONS PRACTICE


       The parties shall submit to the following rules in making and responding to motions on

any case assigned to this member of the Court:

       1. A motion shall state the factual and legal grounds for said motion, and shall be

accompanied by a brief in support. A brief in support of a motion shall not exceed twenty (20)

pages in length. No briefs are required for discovery motions, motions for extension of time and

motions for continuance.

       2. Responses to non-dispositive motions shall be filed within fourteen (14) days, not to

exceed five (5) pages. No reply briefs to non-dispositive motions are permitted without leave of

court. Responses to dispositive motions shall be filed within twenty-one (21) days. Responsive

briefs are limited to twenty (20) pages in length. Reply briefs are permitted to dispositive

motions, and must be submitted within fourteen (14) days of service of the response and are not

to exceed ten (10) pages. Sur reply briefs are not to be filed without leave of Court, and will be

limited to five (5) pages, if leave is granted. No briefing schedule will issue.
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       3. Oral argument will not be scheduled unless the Court determines that it is necessary.

An order will be issued should the Court deem oral argument necessary.

       4. Counsel should be familiar with this Court's Practices and Procedures (See Court

Practices and Procedures at www.pawd.uscourts.gov, link "court practice".)




            SO ORDERED this 25th day of August, 2023.



                                   s/Nora Barry Fischer
                                   Nora Barry Fischer
                                   Senior United States District Judge


cc/ecf: counsel of record




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